






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-09-00128-CR






William Mear, Appellant


v.


The State of Texas, Appellee






FROM THE COUNTY COURT AT LAW OF BASTROP COUNTY

NO. 43,848, HONORABLE BENTON ESKEW, JUDGE PRESIDING





M E M O R A N D U M   O P I N I O N


	Appellant William Mear filed his pro se notice of appeal on March 5, 2009.  The
clerk's record was filed on April 22.  On April 29, the court reporter informed this Court that she had
received neither a designation of nor payment for the reporter's record.  We sent appellant notice that
if he did not arrange to pay for the record or otherwise respond to our notice by May 11, we would
consider the appeal without the reporter's record.  See Tex. R. App. P. 37.3(c).  On June 4, having
received no response, we informed appellant that we would consider the appeal without the
reporter's record and that his brief was due by July 6.  On July 21, having received still no response,
we informed appellant that his brief was overdue and that we would refer the matter to the trial court
for a hearing if we did not receive a response by July 31.

	To date, appellant's brief has not been filed and he has not responded to our notices. 
We therefore abate the appeal.  The trial court shall hold a hearing to determine whether appellant
wishes to pursue his appeal, whether he is indigent and entitled to appointed counsel, (1) see Tex. Code
Crim. P. Ann. art. 1.051 (West Supp. 2008), and, if not, whether he has retained counsel who has
abandoned the appeal.  See Tex. R. App. P. 38.8(b).  The trial court shall make appropriate findings
and recommendations, and a supplemental record from this hearing, including copies of all findings
and orders and a transcription of the court reporter's notes, shall be forwarded to this clerk of this
Court no later than November 6, 2009.  See Tex. R. App. P. 38.8(b)(3).


					__________________________________________

					David Puryear, Justice

Before Justices Patterson, Puryear and Pemberton

Abated

Filed:   October 7, 2009

Do Not Publish
1.   The clerk's record reflects that appellant filed a pretrial affidavit of indigence and was
appointed counsel.  Upon his conviction, appellant's appointed counsel filed a motion to withdraw
and for appointed counsel on appeal.  The trial court granted the motion in part, allowing counsel
to withdraw, but declined to appoint appellate counsel.


